Case 2:O4-cr-20448-STA Documeht 98 Filed 08/01/05 Page 1 of 2 PagelD 92

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UN|TED STATES OF AN|EFi|CA,

 

P|aintiff,

VS.
CR. NO. 04-20448-01-3

N|OM| JENN|FEF{ JA|V|ES,

Detendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance and a change ot plea setting

The Court granted the request and set change of plea date for Thursday, August
18, 2005 at 10:00 a.m., in Courtroom 1. 11th Floor of the Federa| Bui|ding, l\/lemphis, TN.

Time through August 12, 2005 was previously excluded under 18 U.S.C. §
3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time to
prepare outweigh the need tor a speedy tria|.

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ir is so onoEnED this l day of J»aiy, 2005.

 

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UNITED sTATE DISTRIC COUR - W"'RNTE D'S'TRCT 0 TNNESSEE

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This notice confirms a copy of the document docketed as number 98 in
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Honorable .1. Breen
US DISTRICT COURT

